                            UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN (Milwaukee)


 Vickie Hill,                                       Case No. 2:23-cv-00173-LA

         Plaintiff,                                 STIPULATION TO DISMISS
                                                    DEFENDANT KOKLS
    v.                                              CORPORATION WITH PREJUDICE

 Kohls Corporation

         Defendants.




         Plaintiff Vickie Hill and Defendant Kohl’s Corporation, properly known as Kohl’s, Inc.

(“Kohl’s”), pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), stipulate to dismiss all

claims in this action as to Kohls with prejudice, each party to bear its own attorneys' fees and

costs.

Dated: August 11, 2023


 /s/ Elliot Gale                                 /s/ Rachel Cash
 Elliot Gale                                     Rachel Cash
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